Case 2:07-cr-00785-BRM            Document 60         Filed 05/11/09      Page 1 of 1 PageID: 213

                               UNITED STATES DISTRICT COURT
                                        District of New Jersey


  CHAM BERS OF                                                                M A R T IN L U T H E R K IN G JR .
JOSE L. LINARES                                                     F E D E R A L B U IL D IN G & U .S. C O U R T H O U SE
     JU D G E                                                                 50 W A L N U T ST ., R O O M 5054
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                                                                                  N ewark, N J 07101-0999
                                                                                         973-645-6042




                                           May 8, 2009


                                        LETTER ORDER


        Re:       United States v. Akouavi Kpade Afolabi, et al.
                  Civil Action No. 07-785 (JLL)

Dear Counsel:

        On May 6, 2009, this Court conducted in camera interviews with two of the alleged
victims in this matter – Vivian Adjei and Rosine Hounakey. The Court met with Ms. Adjei in
person and spoke with Ms. Hounakey over the telephone. Each conversation occurred under
seal, and each interview took place separately. Both women are adults – Ms. Adjei is 22 and Ms.
Hounakey is 19 – and both are of limited educational background, having completed their
schooling sometime in the 7th or 8th grade.

        The Court asked each individual whether she would or would not like to speak with
defense counsel. The Court also informed them that they could speak with a lawyer beforehand,
that the Court could appoint a lawyer for them, or that they could make the decision without
speaking to anyone. Both Ms. Adjei and Ms. Hounakey stated to the Court in no uncertain terms
that they do not want to speak to defense counsel about this case.

        Ms. Adjei and Ms. Hounakey having stated their desire not to speak to defense counsel or
their representatives, counsel shall be guided accordingly.

        SO ORDERED.


                                                        /s/ Jose L. Linares
                                                       Jose L. Linares
                                                       United States District Judge




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